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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 0 _
WESTERN DIVISION SJUL|| PH h'h?

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DAVID JACKSON,
Plaintiff,
vs. No. 04-2935-Ma/V

CORRECTIONS CORP. OF AMERICA,

Defendant.

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ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
ORDER ASSESSING APPELLATE FILING FEE

 

Plaintiff, David.Jackson, Mississippi Department of Correction
registration number 39640, an inmate at the Wilkinson County
Correctional Facility (“WCCF”),1 in Woodville, Mississippi, has
filed a notice of appeal from the Court's order transferring his
case to the Southern District of Mississippi, entered on June 6,
2005.

Under 28 U.S.C. § 1291, courts of appeals have jurisdiction
only over "final decisions of the district courts . . .J' An
appeal taken from a nonfinal order is beyond the appellate court's
jurisdiction and must be dismissed. gee Liberty Mut. Ins. Co. v.

Wetzel, 424 U.S. 737, 742 (1976); Knafel v. Pepsi Cola Bottlers of
Akron Inc., 850 F.2d 1155, 1158 (6th Cir. 1988). Knafel defines

 

a final judgment as "one which ends the litigation on the merits

 

1 The word prison is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

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and leaves nothing for the court to do but execute the judgment."
850 F.2d at 1159 (citations omitted).

“When an action is transferred it remains what it was and all
further proceedings in it are merely referred to another tribunal,
leaving untouched whatever already has been done." 15 Charles Alan
Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice &
Procedure § 3846, at 362 (1986 & Supp. 1999). The order
transferring this action is interlocutory and nonappealable.
Auerbach v. lknted States, 347 F.2d 742 (5th Cir. 1965) (per
curiam); Lemon v. Druffel, 253 F.2d 680, 683 (6th Cir. 1958), g§;t4
denied, 358 U.S. 821 (1958). As there is no appealable order in
this case, the appeal is without any jurisdictional foundation.

Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken in fg;ma pauperis if the trial court certifies in
writing that it is not taken. in. good faith. The good faith
standard is an objective one. Coppedge v. United States, 369 U.S.
438, 445 (1962). Defining the "good faith" standard applicable in
this context, the Supreme Court has instructed:

In the absence of some evident improper motive, the

applicant's good faith is established.by the presentation

of any issue that is not plainly frivolous.

Crisafi v. Holland, 655 F.2d 1305, 1306 n.3 (D.C. Cir. 1981)
(citing Farley v. United States, 354 U.S. 421 (1951)). An
appellant cannot in good faith present a non-frivolous issue when

the order from which he seeks to appeal is not appealable.

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It is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith and plaintiff may not proceed on appeal ip ;p;ma pauperis.

The United States Court of Appeals for the Sixth Circuit has
held that a certification that an appeal is not taken in good faith
does not affect an indigent prisoner plaintiff's ability to take
advantage of the installment procedures contained in § 1915(b).
McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997).

In this case, plaintiff has submitted both an. ip qu;pg
pauperis affidavit and a pmison trust fund account statement.
Pursuant to 28 U.S.C. § l9l5(b)(l), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out
this order. It is further ORDERED that the trust fund officer at
plaintiff's prison shall calculate a partial appellate filing fee
equal to twenty percent (20%) of the greater of the average balance
in or deposits to the plaintiff's trust fund account for the six
months immediately' preceding the notice of appeal. When the
account contains any funds, the trust fund officer shall collect
them and pay them directly to the clerk of court. If the funds in
plaintiff's account are insufficient to pay the full amount of the
partial appellate filing fee, the prison official is instructed to
withdraw all of the funds in the plaintiff's account and forward
them to the clerk of court. On each occasion that funds are
subsequently credited to plaintiff's account the prison official

shall immediately withdraw those funds and forward them to the

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clerk of court, until the partial appellate filing fee is paid in
full .

It is further ORDERED that, after the partial appellate filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff's account and pay to the clerk of this court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $10.00, until the entire $255.00
filing fee is paid.

Each time the trust fund officer makes a payment to the court
as required by this order, he shall print a copy of the prisoner's
account statement showing all activity in the account since the
last payment under this order and file it with the clerk along with
the payment.

All payments and account statements shall be sent to:

Clerk, United. States District Court, Western. District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name, inmate number and the
case number on the first page of this order.

The plaintiff shall cooperate with prison officials in the
making of these payments. If plaintiff is transferred to a
different prison or released, he is ORDERED to notify the court
immediately of his change of address. If still confined, he shall
provide the officials at the new prison with a copy of this order.

The Clerk will mail a copy of this order to the official in

charge of prisoner trust fund accounts at the WCCF in Woodville,

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Mississippi and to the United States Court of Appeals for the Sixth

Circuit.

IT IS SO ORDERED this 'Ia¢; day'Of July, 2005.

MV/M/L__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02935 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

David Jackson

WILKINSON COUNTY CORRECTIONAL FACILITY
39640

P.O. BOX 1079

Woodville, MS 39669

Honorable Samuel Mays
US DISTRICT COURT

